
BRORBY, Senior Circuit Judge,
dissenting.
I respectfully dissent. I conclude the Oklahoma Court of Criminal Appeals’ decision is an “adjudication on the merits” under the Antiterrorism and Effective Death Penalty Act. I would also uphold the Oklahoma court’s factual determination concerning Dr. Garcia’s report, especially under the Act’s deferential standards in §§ 2254(d)(2) and 2254(e)(1). In addition, I conclude the Oklahoma trial court’s exclusion of Dr. Garcia’s report was not egregious enough to constitute a due process violation under Chambers v. Mississippi, 410 U.S. 284, 93 S.Ct. 1038, 35 L.Ed.2d 297 (1973).
Adjudication on the Merits
The Antiterrorism and Effective Death Penalty Act requires us to deny a habeas petition when a state court adjudicated the petitioner’s claim on the merits unless the state court adjudication “was contrary to, or involved an unreasonable application of, clearly established Federal law, as determined by the Supreme Court of the United States,” 28 U.S.C. § 2254(d)(1), or “was based on an unreasonable determination of the facts in light of the evidence presented in the State court proceeding,” see 28 U.S.C. § 2254(d)(2). We “presume[ ]” state court factual determinations are correct unless the petitioner rebuts the presumption with “clear and convincing evidence.” 28 U.S.C. § 2254(e)(1).
The Oklahoma trial court excluded Dr. Garcia’s report because it was irrelevant to the issue of sanity. The court’s ruling was based on its factual determination nothing *1209in the report discussed sanity, ie., whether Mr. Ellis knew right from wrong at the time of the incident. See Ellis v. State, 867 P.2d 1289, 1296 (Okla.Crim.App.1992). In fact, even when questioned by the court, Mr. Ellis could point to nothing in the report bearing upon whether he knew right from wrong at the time of the incident. Ellis v. Ward, No. CIV-97-1386-R, slip op. at 50 (W.D.Okla. Oct. 10, 2000).
Mr. Ellis appealed to the Oklahoma Court of Criminal Appeals, arguing the report’s exclusion violated due process. The Oklahoma Court of Criminal Appeals, however, affirmed the trial court’s ruling, concluding “[njothing” in Dr. Garcia’s report “was directed to the question of sanity”; rather, the report “was directed solely to the question of competency.” Ellis, 867 P.2d at 1296-97. The court also observed any probative value of Dr. Garcia’s report was “substantially outweighed by the danger of misleading the jury and confusing the issues of competency and sanity.” Id.
Seeing only references to state law in the Oklahoma Court of Criminal Appeals’ analysis, the majority concludes the court did not adjudicate the due process claim on the merits and reviews the claim de novo. I disagree and conclude deference is appropriate under the Antiterrorism and Effective Death Penalty Act.
The majority cites in support of its conclusion a line of decisions withholding deference from state court decisions citing only state law (Romano v. Gibson, 289 F.3d 1156, 1166 (10th Cir.), cert. denied, 534 U.S. 1046, 122 S.Ct. 628, 151 L.Ed.2d 548 (2001)). This would be controlling if our decisions were consistent on the issue of deference under the Antiterrorism and Effective Death Penalty Act; unfortunately, they are not. Some decisions grant deference to state court decisions citing federal law, see, e.g., Kanikaynar v. Sisneros, 190 F.3d 1115, 1117-18 (10th Cir.1999), cert. denied, 528 U.S. 1090, 120 S.Ct. 821, 145 L.Ed.2d 691 (2000), state court decisions lacking analysis and citations to law, see, e.g., Van Woudenberg ex rel. Foor v. Gibson, 211 F.3d 560, 569-70 (10th Cir.2000). cert. denied, 531 U.S. U.S. 1161 (2001), abrogated on other grounds by McGregor v. Gibson, 248 F.3d 946, 955 (10th Cir.2001); Aycox v. Lytle, 196 F.3d 1174, 1177-78 (10th Cir.1999), and state court decisions citing only state law, see, e.g., Revilla v. Gibson, 283 F.3d 1203, 1212-13 (10th Cir.), cert. denied, — U.S. —, 123 S.Ct. 541, — L.Ed.2d - (2002); Mitchell v. Gibson, 262 F.3d 1036, 1052-53 (10th Cir.2001); Romano, 239 F.3d at 1164. In contrast, other decisions withhold deference from state court decisions lacking analysis and citations to law, see, e.g., Smith v. Scott, 223 F.3d 1191, 1193 n. 1 (10th Cir.2000), and state court decisions citing only state law, see, e.g., Knighton v. Mullin, 293 F.3d 1165, 1171 (10th Cir.2002); Neill v. Gibson, 278 F.3d 1044, 1053 (10th Cir.2001), cert. denied, — U.S. -, 123 S.Ct. 145, 154 L.Ed.2d 54 (2002); Romano, 239 F.3d at 1166. While resolving this apparent conflict in our decisions may be an appropriate subject for the en banc court, most of our cases can be reconciled under the following approach: We will grant deference to a state court decision under the Antiter-rorism and Effective Death Penalty Act unless the decision provides some affirmative indication the state court did not consider the federal claim. See Aycox, 196 F.3d at 1177 (granting deference where “[tjhere is no evidence here that the state court did not consider and reach the merits of [the] claim”). We have found such affirmative indications in the past where the state court did not consider the federal claim because of a procedural bar, see, e.g., Sallahdin v. Gibson, 275 F.3d 1211, 1234-35 (10th Cir.2002), where the .state court expressly addressed every claim except *1210one, see, e.g., Duckett v. Mullin, 306 F.3d 982, 991 n. 1 (10th Cir.2002), and where the state court denied the claim on a state law ground unrelated to the federal issue, see, e.g., Neill, 278 F.3d at 1053-54. On the other hand, if a decision lacks such affirmative indications, we will grant it deference under the Act, even if the decision is perfunctory. See Aycox, 196 F.3d at 1177-78.
I do not think, however, that a state court decision citing only state law automatically indicates the state court did not adjudicate the federal claim on the merits. Nor do I think our precedent requires such a result. Of course, if a state court decision denies a claim on a state law ground unrelated to the federal issue, deference is not appropriate. See, e.g., Neill, 278 F.3d at 1053-54. However, if a state court decision denies a claim on a state law ground rendering the federal claim merit-less, or otherwise resulting in its denial, the state court decision lacks any affirmative indication the state court did not consider the federal claim. See generally, Romano, 239 F.3d at 1164 (reviewing under § 2254(d) a state court decision citing only state law where the state standard was stricter than the federal standard).
Here, the Oklahoma trial court found nothing in. Dr. Garcia’s report discussed Mr. Ellis’ sanity at the time of the incident. Based on this finding, the court concluded the report was irrelevant. The Oklahoma Court of Criminal Appeals agreed with the trial court’s factual finding and conclusion. See Ellis, 867 P.2d at 1296-97. Mr. Ellis does not have a due process right to present irrelevant evidence. See, e.g., Rock v. Arkansas, 483 U.S. 44, 55, 107 S.Ct. 2704, 97 L.Ed.2d 37 (1987) (discussing a defendant’s constitutional right to present relevant testimony); Richmond v. Embry, 122 F.3d 866, 872 (10th Cir.1997) (same), cert. denied, 522 U.S. 1122, 118 S.Ct. 1065, 140 L.Ed.2d 126 (1998). Therefore, Mr. Ellis’ due process claim has no merit. Since the Oklahoma Court of Criminal Appeals’ decision lacks an affirmative indication the court did not consider the federal claim, the decision deserves deference under the Antiterrorism and Effective Death Penalty Act.
Review of the Oklahoma Courts’ Factual Determination
The Oklahoma Court of Criminal Appeals’ decision denying Mr. Ellis’ claim was based on its agreement with the trial court’s factual determination that nothing in Dr. Garcia’s report discusses Mr. Ellis’ sanity at the time of the incident. Ellis, 867 P.2d at 1296-97. Mr. Ellis challenges this factual determination, triggering review under §§ 2254(d)(2) and 2254(e)(1) of the Antiterrorism and Effective Death Penalty Act. We may grant Mr. Ellis’ ha-beas petition only if we conclude the factual determination is unreasonable in light of the evidence, presuming the factual determination correct unless Mr. Ellis rebuts the determination with clear and convincing evidence. See 28 U.S.C. § 2254(d)(2) &amp; (e)(1). Mr. Ellis did not meet this standard.
The majority concludes the Oklahoma court’s factual determination concerning Dr. Garcia’s report is unreasonable.1 The *1211majority, however, never recognizes we must presume all state court factual determinations are correct unless the presumption is rebutted with clear and convincing evidence. See 28 U.S.C. § 2554(e)(1). This presumption and standard applies regardless of whether our review is -de novo or deferential under § 2254(d). See Hooks, 184 F.3d at 1223. Even reviewing the Oklahoma court’s factual determination de novo, however, I think the court was correct in finding Dr. Garcia’s report is not directed to the question of sanity. Nothing in the report indicates whether Mr. Ellis was capable of knowing right from wrong at the time of the incident. Dr. Garcia’s report concludes only that Mr. Ellis was “definitely competent to stand trial.” Competency is not the same as sanity. Compare Okla. Stat. tit. 21, § 152(4) (2002) with Okla. Stat. tit. 22, § 1175.1 (2002).
The majority is concerned certain statements and observations in Dr. Garcia’s report may reflect on Mr. Ellis’ sanity at the time of the incident. However, these statements offer no conclusions as to sanity and merely repeat what Mr. Ellis himself explained to the doctor, i.e., he did not remember the shootings, he borrowed a gun to kill himself, he heard voices, he was suspicious and paranoid, and he thought demons and spirits were taking over his body. Dr. Garcia’s few observations in the report also offer no conclusions as to Mr. Ellis’ sanity: Mr. Ellis had a severe dissociative disorder in the past, Mr. Ellis may have been completely depersonalized at the time of the incident, and Mr. Ellis had chronic paranoid type schizophrenia. Nowhere in the report is there a discussion or conclusion as to whether Mr. Ellis knew the wrongfulness of his acts at the time of the incident. The statements and.observations in the report .merely informed Dr. Garcia’s final conclusion: While Mr. Ellis “may have had history of schizophrenic ... behavior[,][h]e is definitely competent to stand trial.”
The majority also rejects the Oklahoma Court of Criminal Appeals’ observation that “[a]ny probative value [of Dr. Garcia’s report] was substantially outweighed by the danger of misleading the jury and confusing the issues of competency and sanity.” See Ellis, 867 P.2d at 1297. In contrast to the majority, I believe there was a danger the jury would take these statements in Dr. Garcia’s report out of the context of competency to support a finding of legal insanity, even though nothing in the report indicates whether Mr. Ellis knew right from wrong at the time of the incident. The report does not explain what it means to have a “dissociative disorder,” to have “schizophrenia,” or to be “depersonalized.” Furthermore, the report does not offer an opinion as to whether Mr. Ellis had any of these conditions at the time of the incident. Even assuming he did, the report does not explain whether these conditions could have or did have an impact .on Mr. Ellis’ sanity at the time of the incident.. In light of the focus of the report and the cursory nature of Dr. Garcia’s observations, I do not think the trial court erred in excluding the report.
The Chambers analysis
The majority holds the Oklahoma trial court’s exclusion of Dr. Garcia’s report violated due process under Chambers v. Mississippi, 410 U.S. 284, 93 S.Ct. 1038, 35 L.Ed.2d 297 (1973). I cannot agree that the trial court’s exclusion in this case is egregious enough to constitute a due process violation.2 Claims of error based on *1212evidentiary rulings are matters of state law which are generally not cognizable in federal habeas corpus proceedings, see Romano, 239 F.3d at 1166, and ordinarily do not rise to the level of a constitutional violation, see Crane v. Kentucky, 476 U.S. 683, 689, 106 S.Ct. 2142, 90 L.Ed.2d 636 (1986). Mr. Ellis may obtain habeas relief for an improper state evidentiary ruling “only if the alleged error was so grossly prejudicial [that it] fatally infected the trial and denied the fundamental fairness that is the essence of due process.” Revilla, 283 F.3d at 1212 (alteration in original; quotation marks and citation . omitted). The category of infractions violating fundamental fairness is very narrow, see Bullock v. Carver, 297 F.3d 1036, 1055 (10th Cir.), cert. filed, (U.S. Oct. 21) (No. 02-7110) (2002), and Mr. Ellis’ due process claim falls outside this category.
The Supreme Court recognized Chambers represented “an exercise in highly case-specific error correction.” Montana v. Egelhoff, 518 U.S. 37, 52, 116 S.Ct. 2013, 135 L.Ed.2d 361 (1996): The Court explained:
[T]he holding of Chambers — if one can be discerned from such a fact-intensive case — is certainly not that a defendant is denied a fair opportunity to defend against the State’s accusations whenever critical evidence favorable to him is excluded, but rather that erroneous evi-dentiary rulings can, in combination, rise to the level of a due process violation.
Id. at 53, 116 S.Ct. 2013 (quotation marks omitted). Chambers and its progeny stand for the limited proposition that a state court’s exclusion of highly exculpatory evidence, critical to the defense, necessarily exonerating the defendant if believed, may violate the due process clause. See Rock, 483 U.S. at 61-62, 107 S.Ct. 2704; Crane, 476 U.S. at 690-91, 106 S.Ct. 2142; Green v. Georgia, 442 U.S. 95, 97, 99 S.Ct. 2150, 60 L.Ed.2d 738 (1979); Chambers, 410 U.S. at 302, 93 S.Ct. 1038. See also Washington v. Texas, 388 U.S. 14, 22-23, 87 S.Ct. 1920, 18 L.Ed.2d 1019 (1967); Richmond, 122 F.3d at 874. Due process violations have been found when state courts exclude exculpatory, critical, and exonerating evidence by applying rules of evidence mechanistically, see Green, 442 U.S. at 97, 99 S.Ct. 2150; Chambers, 410 U.S. at 302, 93 S.Ct. 1038, or arbitrarily, see Rock, 483 U.S. at 61-62, 107 S.Ct. 2704; Crane, 476 U.S. at 690-91, 106 S.Ct. 2142; Washington, 388 U.S. at 23, 87 S.Ct. 1920. No due process violation occurred here.
The statements and observations in Dr. Garcia’s report are not highly exculpatory and would not necessarily exonerate Mr. Ellis if believed. See Richmond, 122 F.3d at 874 (noting the evidence must be of the type “that if believed would have, by necessity, exculpated the defendant”). Nor would the report, if admitted, create a reasonable doubt as to Mr. Ellis’ sanity that did not exist without it. See id. At most, the statements and observations show Mr. Ellis may have had some type of mental disability at the time of the incident. They do not indicate whether Mr. Ellis knew right from wrong. As a result, Dr. Garcia’s report was not critical to Mr. Ellis’ defense of insanity. Although exclusion of the report may have weakened Mr. Ellis’ defense somewhat, it did not prevent him from presenting other evidence, including expert testimony, of his alleged mental disability to the jury. That Mr. Ellis chose not to do so does not render an otherwise constitutional exclusion of evidence unconstitutional.
*1213It is also apparent Dr. Garcia’s report was not excluded as a result of the state trial court’s rigid, mechanistic, or arbitrary application of evidentiary rules. Rather, the trial court determined, after studying the information contained in the report, the report was not relevant to the issue of Mr. Ellis’ sanity at the time of the incident. Although Mr. Ellis does have a due process right to present highly exculpatory evidence critical to his defense, the evidence must be relevant; Mr. Ellis has no due process right to present irrelevant evidence. See, e.g., Rock, 483 U.S. at 55, 107 S.Ct. 2704; Richmond, 122 F.3d at 872. Since the trial court’s ruling in no way prevented Mr. Ellis from presenting relevant evidence of his sanity, or lack thereof, no due process violation occurred.
Even if the report was relevant, however, I disagree with the majority’s conclusion Dr. Garcia’s report was “critical” to Mr. Ellis’ defense and created a “reasonable doubt” that did not exist without it.3 The link between Dr. Garcia’s report and Mr. Ellis’ sanity is simply too tenuous to support a due process violation under Chambers.
For these reasons, I would affirm the district court’s denial of habeas relief on Mr. Ellis’ due process claim.

. Interestingly, although the majority engages in de novo review of Mr. Ellis' due process claim, it purportedly defers to the state courts’ factual determination concerning Dr. Garcia’s report under § 2254(d)(2). This is the incorrect standard of review if, as the majority concluded, Mr. Ellis’ due process claim was not adjudicated on the merits. When there is no adjudication on the merits, our review is de novo, and both §§ 2254(d)(1) and 2254(d)(2) are inapplicable. See Moore v. Gibson, 195 F.3d 1152, 1163-64 (10th Cir.1999), cert. denied, 530 U.S. 1208, 120 S.Ct. *12112206, 147 L.Ed.2d 239 (2000); Hooks v. Ward, 184 F.3d 1206, 1223 (10th Cir.1999).


. I also conclude the Oklahoma Court of Criminal Appeals' decision denying Mr. Ellis’ due process claim was not contrary to or an *1212unreasonable application of federal law. See 28 U.S.C. § 2254(d)(1). Even accepting the majority's conclusion de novo review applies, I cannot agree that the trial court's exclusion of Dr. Garcia’s report violated the due process clause.


. In fact, after seeing Dr. Garcia’s report during the sentencing phase, the jurors still sentenced Mr. Ellis to death.

